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8                          UNITED STATES DISTRICT COURT
9                       SOUTHERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                   Case No.: 18-CR-03677-W
12                Plaintiff,                      REQUEST TO WITHDRAW
            v.                                    UNITED STATES’ NOTICE OF
13
                                                  ATTORNEY APPEARANCE
14
      DUNCAN D. HUNTER,
15    MARGARET E. HUNTER
16                Defendants.
17
     TO THE CLERK OF COURT AND ALL PARTIES OF RECORD
18
           The United States of America, by and through its counsel, David D. Leshner,
19
     Attorney for the United States acting under 28 U.S.C. § 515, and Bradley G. Silverman,
20
     Assistant United States Attorney, hereby requests that this Court authorize the
21
     withdrawal of document number 35 from the clerks record.
22
           DATED: June 25, 2019
23
                                                 Respectfully submitted,
24
25                                               DAVID D. LESHNER
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26
                                                 s/Bradley G. Silverman
27                                               BRADLEY G. SILVERMAN
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28
